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 1   SEYFARTH SHAW LLP
     William J. Dritsas (SBN 097523) wdritsas@seyfarth.com
 2   Catherine M. Dacre (SBN 141988) cdacre@seyfarth.com
     Robb D. McFadden (SBN 258569) rmcfadden@seyfarth.com
 3   Ari Hersher (SBN 260321) ahersher@seyfarth.com
     560 Mission Street, 31st Floor
 4   San Francisco, California 94105
     Telephone: (415) 397-2823
 5   Facsimile: (415) 397-8549
 6   Attorneys for Defendant
     RED ROBIN INTERNATIONAL, INC.
 7
     HOFFMAN EMPLOYMENT LAWYERS, LLP
 8   Michael Hoffman (SBN 154481) mhoffman@employment-lawyers.com
     Leonard Emma (SBN 224483) lemma@sfemployment-lawyers.com
 9   333 Bush St., Suite 2250
     San Francisco, California 94104
10   Telephone: (415) 362-1111
     Facsimile: (415) 362-1112
11
     Attorneys for Plaintiffs
12   KEVIN McCONNELL and BRITTNEY CALVERT
13                                   UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
15
                                                        ) Case No. CV-11-3026 WHA
16   KEVIN MCCONNELL, on behalf of himself, )
     and all others similarly situated, and the general ) STIPULATION FOR VOLUNTARY
17   public,                                            ) DISMISSAL OF CLASS ALLEGATIONS
                                                        ) PURSUANT TO RULE 41(a)(1)(A)(ii)
18                   Plaintiff,                         )
                                                        ) Hon. William H. Alsup
19                   v.                                 )
                                                        )
20   RED ROBIN INTERNATIONAL, INC., a                   )
     Colorado Corporation,                              )
21                                                      )
                     Defendant.                         )
22                                                      )
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               STIPULATION FOR VOLUNTARY DISMISSAL OF CLASS ALLEGATIONS PURSUANT TO RULE 41(a)(1)(A)(ii)
     14458283v.1
       Case 3:11-cv-03026-WHA Document 70 Filed 07/11/12 Page 2 of 2




 1             PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiffs
 2   BRITTNEY CALVERT and KEVIN McCONNELL (collectively “Plaintiffs”) and Defendant
 3   RED ROBIN INTERNATIONAL, INC. (collectively the “Parties”), by and through their
 4   counsel of record, hereby stipulate to the dismissal of class allegations the above-captioned
 5   action.
 6             IT IS FURTHER STIPULATED AND AGREED that dismissal of class allegations in
 7   this action will not affect the rights of the Plaintiff KEVIN McCONNELL in pending Northern
 8   District of California Case CV-11-3794 WHA.
 9             IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
10   DATED: July 11, 2012                                     SEYFARTH SHAW LLP
11
12                                                            By    s/ Catherine Dacre
                                                                    Catherine Dacre
13                                                            Attorneys for Defendant
                                                              RED ROBIN INTERNATIONAL, INC.
14
                                                              HOFFMAN EMPLOYMENT LAWYERS,
15   DATED: July 11, 2012                                     LLP
16
17                                                            By s/ Michael Hoffman
                                                              Michael Hoffman
18                                                            Attorneys for Plaintiffs
                                                              BRITTNEY CALVERT and KEVIN
19                                                            McCONNELL
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               STIPULATION FOR VOLUNTARY DISMISSAL OF CLASS ALLEGATIONS PURSUANT TO RULE 41(a)(1)(A)(ii)
     14458283v.1
